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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re

NEW CENTURY TRS HOLDINGS, INC.,                  Chapter 11
et al.,                                          Case No. 07-10416-KJC

                       Debtor.


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 30, 2008, copies of the foregoing Motion for

Relief from Automatic Stay Under § 362 of the Bankruptcy Code, notice, and proposed order

were served via first-class mail, postage prepaid, upon the parties listed on the attached matrix.



Dated: January 30, 2008                        /s/ Adam Hiller
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